          Case 1:25-cv-01814-BAH          Document 3      Filed 06/09/25   Page 1 of 2
                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                       OFFICE OF THE CLERK



Catherine M. Stavlas, Clerk
David E. Ciambruschini, Chief Deputy
                                           June 9, 2025


Ekere Inyangette
1564 Alconbury Rd.
Essex, MD 21221


Dear Ekere Inyangette:
The Clerk's Office has received your papers for filing. The assigned Case Number is:
1:25−cv−01814−BAH. The Judge assigned to the case is: Judge Brendan Abell Hurson.
Documents that you would like the Judge to consider must be sent to the Clerk's Office to
be entered on the court docket at this address:
      United States District Court
      District of Maryland
      Northern Division
      Clerk's Office
      101 W. Lombard Street
      Baltimore, MD 21201
You are required to keep a current mailing address on file with the Clerk's Office. If your
address changes, you must provide the new address in writing to the Clerk's Office.
You are required to put the case title (Inyangette v. Henry) and case number on all
documents that you file with the Clerk's Office. This is noted in Local Rule 102.2(a).
You should also be careful to protect your privacy in court filings. You should not include
personal identifying information on documents that you file with the Court, unless you
request the documents to be filed under seal. Your documents should NOT include any
more than the last four digits of your social security, financial or tax identification
numbers. Your documents should also not include birth dates other than the year of birth.
And you should not include the names of minor children, although you may include their
initials. This is noted in Federal Rule of Civil Procedure 5.2.
Documents must be typed if possible. If documents are handwritten, they must be clearly
legible. Also, you must sign all documents that you file with the Clerk's Office.
It is important that you follow the Local Rules and Federal Rules of Civil Procedure.
Otherwise, your documents may be returned to you or your case may be dismissed. The
Clerk's Office cannot provide legal advice. A copy of these rules and other resources for
self−represented individuals filing without attorneys are available here:
https://www.mdd.uscourts.gov/filing−without−attorney
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Non−prisoner self−represented parties may use the Court's Electronic Document
Submission System. This service is available only to non−prisoner self−represented
parties who would like to submit documents electronically for filing in civil cases. Further
information is located here:
https://www.mdd.uscourts.gov/content/electronic−document−submission−system−edss
In addition, non−prisoner self−represented parties may also request to receive electronic
notification of case filings instead of receiving paper copies. Further information is
located here:
https://www.mdd.uscourts.gov/consent−receive−notices−electronic−filing


                                              Sincerely,
                                                        /s/
                                              Catherine M. Stavlas, Clerk

                                              By: Baylee Wilson, Deputy Clerk
